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                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW JERSEY

    CHRISTOPHER CURTIS BELLINGER III,

          Plaintiff,

              v.                                                  Civil Action No. 24-8442

   THE CITY OF PERTH AMOBY, PERTH
   AMBOY          POLICE      DEPARTMENT,
   CHIEF LAWRENCE CATTANO in his                                          ORDER
   official capacity, and LT. CARMELO
   JIMENEZ, DET. BENJAMIN BATISTA,
   DET./SGT. DAVID GUZMAN, DET.                                          June 30, 2025
   KEVIN SAVOIA, DET. YANELBA
   REYES, DET. LUID ALMANZAR, P.O.
   JESSICA DEJESUS, individually and in
   their official capacity, and “JOHN DOES”
   #1-3, individually and in their official
   capacity (the name “JOHN DOE” being
   fistitious, as the true names are presently
   unknown,

         Defendants.

  SEMPER, District Judge.

         This matter having come before the Court on Defendants the City of Perth Amboy, Perth

 Amboy Police Department, Chief Lawrence Cattano, Lt. Carmelo Jimenez, Det. Benjamin Batista,

 Det./Sgt. David Guzman, Det. Kevin Savoia, Det. Yanelba Reyes, Det. Luis Almanzar, and P.O.

 Jessica DeJesus’s (collectively “Defendants”) Motion to Dismiss (ECF 19) Plaintiff Christopher

 Curtis Bellinger III’s (“Plaintiff” or “Bellinger”) Complaint (ECF 1), and the Court having

 considered the parties’ submissions, for the reasons stated in this Court’s Opinion dated June 30,

 2025,

         IT IS on this 30th day of June 2025,

         ORDERED that Defendant’s Motion to Dismiss is GRANTED as to Counts 3, 4, 5, 6, 7,

         8, 9, 10, 13, 14, 15, and 16. Counts 3, 4, 5, 6, 7, 8, 9, and 10 are dismissed without

         prejudice; Counts 13, 14, 15, and 16 are dismissed with prejudice.


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        ORDERED that Defendant’s Motion to Dismiss is DENIED as to counts 1, 2, 11, and 12.

        The parties are directed to proceed to discovery pursuant to these remaining claims under

        the supervision of Magistrate Judge Waldor.


                                                             /s/ Jamel K. Semper
                                                             HON. JAMEL K. SEMPER
                                                             United States District Judge

 Orig: Clerk
 cc:   Cathy L. Waldor, U.S.M.J.
       Parties




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